                                                                                    United States District Court
                                                                                      Southern District of Texas

                         IN THE UNITED STATES DISTRICT COURT
                                                                                         ENTERED
                                                                                      February 21, 2017
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                                      David J. Bradley, Clerk
                                BROWNSVILLE DIVISION

MEDWIN FAMILY MEDICINE             §
AND REHABILITATION, P.L.L.C.,      §
          Plaintiff,               §
                                   §
VS.                                §                        CIVIL ACTION NO. B-15-151
                                   §
SYLVIA MATHEWS BURWELL, SECRETARY, §
UNITED STATES DEPARTMENT OF HEALTH §
AND HUMAN SERVICES,                §
          Defendant.               §


                                                 ORDER

       On January 31, 2017, the United States Magistrate Judge filed a Report and

Recommendation [Doc. No. 34].        Plaintiff has objected [Doc. No. 35] to said Report and

Recommendation.

       Having considered de novo the Magistrate Judge’s Report and Recommendation and the

issues raised by Plaintiff’s objections, the Court hereby adopts the Magistrate Judge’s Report and

Recommendation [Doc. No. 34]. Therefore, the Court grants the Secretary’s Cross Motion for

Summary Judgment, denies Medwin’s Motion for Summary Judgment, and dismisses this civil

action with prejudice.

       Signed this 21st day of February, 2017.


                                                    ________________________________
                                                    Andrew S. Hanen
                                                    United States District Judge
